              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CIVIL CASE NO. 1:11cv209
                       [Criminal Case No. 1:06cr5]


CASEY DILLON WOOD,          )
                            )
         Petitioner,        )
                            )
         v.                 )                  ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
         Respondent.        )
___________________________ )

     THIS MATTER is before the Court on the Petitioner’s Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1] and Motion for Expedited Disposition [Doc. 4].

                     PROCEDURAL BACKGROUND

     On February 8, 2006, the Petitioner and ten co-defendants were

charged with conspiracy to manufacture and possess with intent to distribute

at least 50 grams of methamphetamine, in violation of 21 U.S.C. §§ 846 and

841(a)(1). [Criminal Case No. 1:06cr5, Doc. 1].     On April 27, 2006, the

Petitioner pled guilty to the Bill of Indictment pursuant to a Plea Agreement

with the Government . [Id., Doc. 136]. On January 30, 2007, the Government

moved for a downward departure pursuant to U.S.S.G. §5K1.1 based on the



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Petitioner’s substantial assistance to the Government. [Doc. 205]. At the

Petitioner’s sentencing hearing, the sentencing court granted that motion and

also sustained the Petitioner’s Objections to the amount of restitution

calculated in the pre-sentence report. [Doc. 210]. By Judgment of Conviction

filed February 22, 2007, the Court sentenced the Petitioner to 87 months

imprisonment. [Doc. 209]. The Petitioner did not file a direct appeal from the

Judgment.

      On August 16, 2011, the Petitioner filed this motion claiming that the

Bureau of Prisons (“BOP”) has improperly denied him a sentence reduction

pursuant to 18 U.S.C. §3621. The Petitioner argues that he successfully

completed the Residential Drug Abuse Program (“RDAP”); however, because

the sentencing court found an enhancement pursuant to U.S.S.G.

§2D1.1(b)(6)(B),1 BOP has refused to award the reduction.

                             STANDARD OF REVIEW

      Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings

for the United States District Courts, sentencing courts are directed to


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        This Guideline, now designated as §2D1.1(b)(10)(C)(ii), provides for a three
point enhancement in offense level due to a substantial risk of harm to human life or the
environment. U.S.S.G. §2D1.1(b)(6)(B). “The dangers of methamphetamine
laboratories to human life are well-documented.” United States v. Howell, 201 F. App’x
948, 949 (4th Cir. 2006), cert. denied 548 U.S. 1236, 127 S.Ct. 1317, 167 L.Ed.2d 127
(2007).

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promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is

entitled to any relief. If the petitioner is not entitled to relief, the motion must

be dismissed. Id. This Court has carefully reviewed the Petitioner’s motion

as well as the record below and finds that the Petitioner is not entitled to any

relief and that the motion should be dismissed.

                                  DISCUSSION

      A prisoner in federal custody may attack his conviction and sentence on

the ground that it is in violation of the Constitution or United States law, was

imposed without jurisdiction, exceeds the maximum penalty, or is otherwise

subject to collateral attack. 28 U.S.C. §2255. However, §2255 does not

embrace all possible challenges to federal custody.           A challenge to the

execution of a federal sentence, as opposed to its legality, must be brought

pursuant to 28 U.S.C. §2241, not §2255. United States v. Miller, 871 F.2d

488, 490 n.3 (4 th Cir. 1989). A claim for credits against a sentence attacks the

computation and execution of the sentence rather than the legality thereof and

thus, must be brought in the district of confinement. Id.; Rumsfeld v. Padilla,

542 U.S. 426, 124 S.Ct. 2711, 159 L.Ed.2d 513 (2004) (claim which

challenges present physical confinement must be filed in the district of



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confinement); United States v. Johnson, 317 Fed.Appx. 336, 337 n.2 (4 th Cir.

2009) (citing Miller).

      Here, the Petitioner argues that the wording of his Judgment caused

BOP to interpret his offense level as having been enhanced for endangering

human life. [Doc. 1 at 4]. Because of this purported enhancement, he claims

that BOP has found he is ineligible for a sentence reduction under §3621

despite having completed the RDAP program. This is a claim challenging the

execution and duration of his sentence as opposed to its legality. Woodall v.

Federal Bureau of Prisons, 432 F.3d 235 (3 rd Cir. 2005) (challenge to

execution of sentence must be brought by habeas instead of motion to

vacate); Ardry v. Rios, 215 F. App’x 776 (10 th Cir. 2007) (prisoner brought

habeas petition to challenge BOP’s regulation denying sentence reduction to

inmate whose offense had enhancement for firearm; even if he completed

RDAP he remained ineligible); Vaillancourt v. Ziegler, 2010 WL 3257649

(N.D.W.Va. 2010) (noting challenge to BOP’s decision not to reduce sentence

upon completion of RDAP brought pursuant to §2241); Sonni v. United States,

2010 WL 4867412 (D.N.J. 2010) (“sentence reductions pursuant to RDAP are

not determinations for th[e] [sentencing] Court”); King v. Federal Bureau of

Prisons, 2009 WL 764948 (D.S.C. 2009) (§2241 used to attack BOP’s refusal



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of sentence reduction on completion of RDAP), affirmed 329 F. App’x 504 (4 th

Cir. 2009). When a prisoner attacks the manner in which his sentence is

being carried out or the prison authorities’ calculation of its duration, the

procedural mechanism which must be used is a petition for a writ of habeas

corpus pursuant to §2241 filed in the district of confinement. Miller, 871 F.2d

at 490 n.3.

      The Court has considered the Petitioner’s motion, any attached exhibits,

and the record of prior proceedings. The Court finds that the Petitioner is not

entitled to relief and therefore the motion must be dismissed. The Court

further finds that the Petitioner has not has not made a substantial showing

of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Slack v. McDaniel,

529 U.S. 473, 484-85 (2000) (in order to satisfy § 2253(c) when court denies

relief on procedural grounds, a petitioner must demonstrate both that the

dispositive procedural ruling is debatable, and that the petition states a

debatable claim of the denial of a constitutional right). As a result, the Court

declines to issue a certificate of appealability. Rule 11(a), Rules Governing

Section 2255 Proceedings for the United States District Courts.




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                                 ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc No. 1] is hereby DENIED and this action is hereby

DISMISSED.

      IT IS FURTHER ORDERED that the Petitioner’s Motion for Expedited

Disposition [Doc. 4] is hereby DENIED as moot.

      IT IS FURTHER ORDERED that the Court declines to issue a Certificate

of Appealability.

                                     Signed: November 3, 2011




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